

AMK Capital Corp. v CIFRE Realty Corp. (2023 NY Slip Op 00024)





AMK Capital Corp. v CIFRE Realty Corp.


2023 NY Slip Op 00024


Decided on January 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2023

Before: Kapnick, J.P., Oing, Singh, Moulton, Pitt-Burke, JJ. 


Index No. 32374/17E Appeal No. 16837&amp;M-2022-4610 Case No. 2022-01100 

[*1]AMK Capital Corp., etc., Plaintiff,
vCIFRE Realty Corp., etc., et al., Defendants, Adam Plotch etc., Defendant-Appellant. Magdy Mikhail et al., Nonparty Respondents.


Adam Plotch, appellant pro se.
Herrick Feinstein LLP, New York (Meaghan Roe of counsel), for respondent.



Appeal from order, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered on or about August 26, 2020, which denied defendant Adam Plotch's motion to vacate the judgment of foreclosure, the foreclosure sale to a third party, and the subsequent sale to another third party on procedural grounds, and directed him to renew his motion by order to show cause, unanimously dismissed, without costs.
No appeal lies from the order, which merely directed defendant Plotch to resubmit his motion in proper form. We note that CPLR 5015(a) provides that "[t]he court which rendered a judgment or order may relieve a party from it upon such terms as may be just, on motion of any interested person with such notice as the court may direct." Thus it was not improper for Supreme Court to deny Plotch's motion made on notice without prejudice to renewal as an order to show cause (see Matter of Wallace v Bujanow, 176 AD3d 1307, 1308 [3d Dept 2019]; Smith v Smith, 291 AD2d 828, 828 [4th Dept 2002]).
Plotch's reliance on Executive Order 202.57 (9 NYCRR 8.202.57) and Administrative Order 157/20 for the contention that Supreme Court was barred from deciding his motion without a conference is unavailing, as these orders pertained to pending foreclosure actions. A judgment of foreclosure in this case was entered in December 2018, the property sold at a foreclosure auction in February 2019, and then resold to nonparty proposed intervenors, the Mikhails in August 2019; there was no requirement for Supreme Court to conference this matter before reviewing Plotch's 2020 motion.
M-2022-4610 — AMK Capital Corp. v CIFRE Realty Corp., et al.
Motion by defendant Plotch to withdraw appeal, denied.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2023








